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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN
11
12   LUCAS R., by his next friend             Case No. 2:18-CV-05741 DMG PLA
     MADELYN R.; DANIELA MARISOL
13   T., by her next friend KATHERINE L.;     CLASS ACTION
     MIGUEL ANGEL S., by his next
14   friend GERARDO S.; GABRIELA N.,
     by her next friend ISAAC N.; JAIME       PLAINTIFF’S NOTICE OF FILING
15   D., by his next friend REYNA D.; SAN     OF REDACTED EXHIBITS IN
     FERNANDO VALLEY REFUGEE                  SUPPORT OF OPPOSITION TO
16   CHILDREN CENTER, INC.;                   MOTION TO DISMISS
     UNACCOMPANIED CENTRAL
17   AMERICAN REFUGEE
     EMPOWERMENT,                             Complaint Filed: June 29, 2018
18
                     Plaintiffs,              Trial Date: None Set
19                                            Judge: Hon. Dolly M. Gee
           v.
20
     ALEX AZAR, Secretary of U.S.
21   Department of Health and Human
     Services; E. SCOTT LLOYD, Director,
22   Office of Refugee Resettlement of the
     U.S. Department of Health & Human
23   Services,
24                   Defendants.
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                                                     PLAINTIFF’S NOT. OF FILING OF REDACTED EXH.
                                                                       RE OPP. TO MOT. TO DISMISS
                                                               CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 83 Filed 09/10/18 Page 2 of 3 Page ID #:3115



 1          Pursuant to the Court’s order (ECF 74), Plaintiffs hereby file redacted versions
 2   of the following documents:
 3   Ltr.    Description                                                                                   Page(s)
 4
     A      Notice of Placement in Secure or Staff Secure Facility ............................ 1-2
 5
     B      UAC Assessment ....................................................................................... 3-5
 6
 7   C      Placement Authorization ........................................................................... 6-8

 8   D      Authorization for Medical, Dental, and Mental Health Care .................. 9-11
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                                                                         PLAINTIFF’S NOT. OF FILING OF REDACTED EXH.
                                                            1.                             RE OPP. TO MOT. TO DISMISS
                                                                                   CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 83 Filed 09/10/18 Page 3 of 3 Page ID #:3116



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                                          2.                         RE OPP. TO MOT. TO DISMISS
                                                             CASE NO. 2:18-CV-05741 DMG PLA
